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Coronavirus Disease 2019 (COVID-19)




CDC COVID Data Tracker
Maps, charts, and data provided by the CDC


                The CDC COVID-19 Data Tracker has a new look and location to make the data easier to find and use. All previous
                data remains and will be updated on the same schedule. Please update bookmarks and links.

               Also, as of 8/27, the Tracker includes correctional facility information, NIH Vulnerability Index data, and upgraded
                testing information.




 Case Trends           Laboratory     Community Impact             Unique Populations                        COVID-19 Home



  Cases
                Trends         Compare Trends       Demographics           Cases and Deaths by County                                              Forecasting


United States COVID-19 Cases and Deaths by State
  Trends in ED Visits



                                           Reported to the CDC since January 21, 2020



                                                USA                                                                                                                                     
                                 5,972,356                                         Cases
                                 TOTAL CASES                  Total                  in                          Cases                              Total                 Deaths
                                                              Cases                 Last                          per                              Deaths                   per
             CDC | Updated: Aug 31 2020 2:02PM                                       7                          100,000                                                   100,000
                                                                                   Days
                                                USA
                                                           Total Number of COVID-19 Cases in the US Reported to the
                                       182,622                             CDC, by State/Territory
                               TOTAL DEATHS
             CDC | Updated: Aug 31 2020 2:02PM                                                                                                                                          

                                                USA                                                                                                                                     
                                       289,865
                          Cases in Last 7 Days
             CDC | Updated: Aug 31 2020 2:02PM


   Total Cases by State/Territory  
                     Total                          

   State/Territory             Confirmed Probable
                     Cases
   California        699,909     N/A       N/A
   Florida           614,753     N/A       N/A                                                                   Territories

                                                                                           AS   FSM        GU    MP       PR         PW      RMI     VI

   Texas             610,354     N/A       N/A
                                                                                                                 Total Cases

   Georgia           268,973     N/A       N/A      
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  CDC | Updated: Aug 31 2020 2:02PM
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Data Sources, References & Notes: Total cases are based on aggregate counts of COVID-19 cases reported by state and territorial
jurisdictions to the Centers for Disease Control and Prevention (CDC) since January 21, 2020, with the exception of persons repatriated to
the United States from Wuhan, China, and Japan. The numbers are confirmed and probable COVID-19 cases as reported by U.S. states, U.S.
territories, New York City, and the District of Columbia from the previous day. *Counts for New York City and New York state are shown
separately; data for New York State show total cases and deaths for the State excluding data for NYC. When not available to CDC this is
annotated by N/A. Rates are calculated using U.S. Census Bureau, 2018 American Community Survey 1-year estimates and are shown as
cases/100,000 people. The map shows total cases per state, new cases in the last 7 days per state, and the rate (cases/100,000) per state.
The 7-day moving average of new cases (current day + 6 preceding days / 7) was calculated to smooth expected variations in daily counts.
Demographic data for deaths is based on a subset of cases where case-level data is available. Case numbers reported on other websites
may differ from what is posted on CDC’s website because CDC’s overall case numbers are validated through a confirmation process with
each jurisdiction. Differences between reporting jurisdictions and CDC’s website may occur due to the timing of reporting and website
updates. The process used for finding and confirming cases displayed by other sites may differ.


                                                                        View and Download COVID-19 Case Surveillance Public Use Data



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                   Call 800-232-4636                                                                 
                                            Funding                     OIG
                   Email CDC-INFO
                                            Policies                    Nondiscrimination                            
                   Open 24/7               File Viewers & Players      Accessibility                 



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